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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF WASHINGTON

In re: ERIC LEE HETRICK
AMY ROSE HETRICK Case No. 19-41055-MJH

ORDER APPROVING POST-CONFIRMATION
Debtor(s). MODIFICATION OF PLAN

 

 

 

THIS MATTER came before the Court on the Debtor(s) motion for post-confirmation approval
of the amended plan (“Motion”). The Court has considered the Motion, the records and files in this
case, and the oral argument, if any, and found good cause to grant the Motion.

Now, therefore, it is ORDERED that:

1. The amended plan [Docket No. 17 _] (“Amended Plan”) shall become the plan, pursuant
to 11 U.S.C. § 1329(b).

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Order Approving Post-Confirmation Modification of Plan
Local Forms W.D. Wash. Bankr., Form 13-6
Eff. 12/16

 
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2. The terms of the previously entered Order Confirming Chapter 13 Plan shall continue to
apply except to the extent such terms are inconsistent with the Amended Plan.

/// End of Order ///

Presented by:

/s/Ellen Ann Brown #27992

Counsel, WSBA #
Attorney for Debtor(s)

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